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Based upon information contained in I.C. File LH-0317 and upon an investigation made by the Investigations Section of the Industrial Commission, the Full Commission makes the following:
                            FINDINGS OF FACT
1. Decedent, Anthony Scott Futrell, was a Lieutenant with the N.C. Civil Air Patrol on 17 July 2002, the date of his death.
2. Decedent died on 17 July 2002, as a result of injuries sustained in an airplane crash while participating in a U.S. Air Force authorized mission, DENC 27011-02, conducting a drug surveillance flight in Chowan County, North Carolina.
3. N.C. Gen. Stat. § 143-166.2(c) provides that when applied to members of the Civil Air Patrol, "killed in the line of duty" is limited to those who are killed or die "while engaged in a State requested and approved mission." N.C. Gen. Stat. § 143B-491(b) provides that for workers' compensation purposes, members of the Civil Air Patrol who are performing duties incident to a United States Air Force authorized mission are not eligible for benefits. At the time of his death, decedent was engaged in a mission authorized by the U.S. Air Force. Therefore, he is not eligible for benefits under the Chapter 143, Article 12A of the General Statutes, Law-Enforcement Officers', Firemen's Rescue Squad Workers' and Civil Air Patrol Members' Death Benefits Act.
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Based upon the foregoing findings of fact, the Full Commission concludes as follows:
                            CONCLUSION OF LAW
1. Decedent was not eligible for benefits under the Act as at the time of his death he was engaged in a mission authorized and requested by the U.S. Air Force. N.C. Gen. Stat. § 143-166.2(c).
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Based upon the foregoing findings of fact and conclusions of law, the Full Commission enters the following:
                                  ORDER
1. Plaintiff's request for benefits pursuant to N.C. Gen. Stat. § 143-166.1 et seq. must be and is hereby denied.
No costs are assessed before the Commission.
This the ___ day of May, 2003.
                                  S/___________________ BERNADINE S. BALLANCE COMMISSIONER
CONCURRING:
  S/_____________ THOMAS J. BOLCH COMMISSIONER
  S/_______________ CHRISTOPHER SCOTT COMMISSIONER